            Case: 09-56675, 05/17/2012, ID: 8182550, DktEntry: 94, Page 1 of 3




                                       10-15387
                      _________________________________________

                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                      _________________________________________
                                   SAMUEL MICHAEL KELLER,
                                     Plaintiff and Appellee,
                                               v.
                                     ELECTRONIC ARTS INC.,
                                 Defendant and Appellant.
                         _____________________________________

                  On Appeal from an Order of the United States District Court
                           for the Northern District of California,
                              The Honorable Claudia A. Wilken
                               Case No. 3:09-CV-01967-CAW
              __________________________________________________

  NOTICE OF INTENT TO FILE OPPOSITION TO AMICIS' MOTION FOR
 LEAVE TO FILE SUPPLEMENTAL BRIEF AND MOTION FOR LEAVE TO
                PARTICIPATE IN ORAL ARGUMENT
       __________________________________________________

DAVIS WRIGHT TREMAINE LLP                           KEKER & VAN NEST, LLP
KELLI L. SAGER - #120162                            ROBERT A. VAN NEST - #84065
ALONZO WICKERS IV - #169454                         STEVEN A. HIRSCH - #171825
KAREN A. HENRY - #229707                            R. JAMES SLAUGHTER - #193813
865 S. Figueroa Street, Suite 2400                  710 Sansome Street
Los Angeles, California 90017                       San Francisco, California 94111
Telephone: (213) 633-6800                           Telephone: (415) 391-5400
Facsimile: (213) 633-6899                           Facsimile: (415) 397-7188

                                Attorneys for Defendant/Appellant
                                       Electronic Arts Inc.




DWT 19575683v1 0058278-000014
            Case: 09-56675, 05/17/2012, ID: 8182550, DktEntry: 94, Page 2 of 3




        Appellant Electronic Arts Inc. (“EA”) respectfully gives notice that it will

file an opposition to the Motion for Leave to File Supplemental Amici Brief and

Motion for Leave to Participate in Oral Argument filed by amici the National

Football League Players Association, the Major League Baseball Players

Association, the National Hockey League Players’ Association, the National

Basketball Players Association, and the Major League Soccer Players Union.



        RESPECTFULLY SUBMITTED this 17th day of May, 2012.


                                           DAVIS WRIGHT TREMAINE LLP
                                           KELLI L. SAGER
                                           ALONZO WICKERS IV
                                           KAREN A. HENRY

                                           KEKER & VAN NEST, LLP
                                           ROBERT A. VAN NEST
                                           STEVEN A. HIRSCH
                                           R. JAMES SLAUGHTER



                                           By /s/ Alonzo Wickers IV
                                                     Alonzo Wickers IV
                                           Attorneys for Defendant/Appellant
                                           ELECTRONIC ARTS INC.




                                              1
DWT 19575683v1 0058278-000014
Case: 09-56675, 05/17/2012, ID: 8182550, DktEntry: 94, Page 3 of 3
